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    Ant,chment 3 to Resol111io11 Agreement
    Unl/ed States r. /11d1vior Inc. and /ndfr ior pie                                                              Pica Agr«mtnt



    The United States Attorney's Office for the Western District of Virginia:

    BY:                 ~
               DANIEL P. BUBAR
                                                        -U--DATE
                Attorney for the United States,
                Acting Under Authority Conferred by 28 USC Section 515
               ALBERT P. MAYER
                 Trial Attorney, Department of Justice, Civil Division,
                Commercial Litigation Branch
               RANDY RAMSEYER
                Assistant United States Attorney
               KRISTIN L. ORA Y
               JOSEPHS. HALL
               JANfNE M. MYATT
                Special Assistant United States Attorneys I Assistant Attorneys General,
                Medicaid Fraud Control Unit, Virginia Office of the Attorney General
               GARTH W. HUSTON
                Special Assistant United States Attorney I Attorney. Federal Trade Commission
               CAROL L. WALLA CK
                Trial Attorney, Department ofJustice, Civil Division,
                Commercial Litigation Branch

    The United States Department of Justice, Consumer Protection Branch:

    BY :        ~fr,~                                                         7/z..1/Z-o
                GUSTAVW. EYLER                                              DATE
                  Director
                JILL P. FURMAN
                  Deputy Director
                CHARLES J. BIRO
                MATTHEW J. LASH
                  Trial Attorneys




    Plea Agreeme/11                                                                A utltorizetl Corporate Officer's Initials: _   _
    United States r . lndin or Solwions. Inc.
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                                             INDIVIOR SOLUTIONS, INC.
                                              OFFICER'S CERTIFICATE

                  The undersigned, Javier Rodriguez, the Secretary and corporate representative of Indivior

        Solutions, Inc., (" lndivior Solutions") a Delaware corporation and wholly owned indirect

        subsidiary of lndivior PLC, DOES HEREBY CERTIFY that attached hereto as Exhibit A is a

        true, correct and complete copy of the resolutions approved by the Board of Directors of Indivior

        Solutions, dated July 23, 2020 authorizing Javier Rodriguez to execute and deliver on behalf of

        lndivior Solutions the Waiver of Indictment and Plea Agreement, and the Agreed Order of

        Forfeiture, between the United States of America and Indivior Solutions Inc., to resolve the

        matter of United States v. lndivior, 1: 19-Cr-016 (JPJ) (W .D. Ya.) and certain civil and regulatory

        matters described in the Resolution Agreement, which resolution has not been amended or

        rescinded as of the date hereof.

                                                       July~ 2020




 Addedum 1 to Plea Agreement
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                                             Exhibit A




 Addedum 1 to Plea Agreement
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                                     UNANlMOUS WRITTEN CONSENT OF
                             THE BOARD OF DIRECTORS OF INDIVIOR SOLUTIONS, INC.


                 WHEREAS, Indivior Solutions, Inc. ("Jndivior Solutions"), is a Delaware corporation
         and wholly owned subsidiary oflndivior Inc., a Delaware corporation, and a wholly owned
         indirect subsidiary of Indivior PLC, a company registered in England and Wales.

                 WHEREAS, Indivior Inc., and lndivior PLC were charged with offenses in an indictment
         and superseding indictment in the Western District of Virginia captioned United States v.
         Indivior Inc. and Jndivior PLC, 1: 19-Cr-O 16 (JP J) (the "Charged Case").

                 WHEREAS, the Charged Case is being prosecuted by the United States Attorney 's
         Office for the Western District of Virginia ("USAO-WDVA") and the United States Department
         of Justice's Consumer Protection Branch ("CPB").

                  WHEREAS, the USAO-WDVA and CPB have agreed to resolve the Charged Case on
         the terms set forth in the Resolution Agreement, and the documents referenced therein, which
         includes dismissal of the Charged Case and a Plea Agreement between USAO-WDVA, CPB and
         Indivior Solutions that would require Indivior Solutions to plead guilty to one count of making
         false statements relating to health care matters, in violation of Title 18, United States Code,
         Section l 035.

               WHEREAS, the lndivior PLC and Indivior Inc. Board of Directors has decided on
         unanimous consent to resolve the Charged Case pursuant to the Resolution Agreement.

               WHEREAS, lndivior PLC and Indivior Inc., have been in discussions with certain parties
        and governmental authorities to resolve certain civil and regulatory matters arising from the
        marketing, sale, promotion and distribution of Suboxone Film in the United States.

                 WHEREAS, the Board of Directors has unanimously agreed to resolve these certain civil
        and regulatory matters as set forth in the Resolution Agreement and the documents referenced
        therein.

               IT IS HEREBY RESOLVED, that the waiver of indictment (" Waiver oflndictrnent") by
        Indivior Solutions, in the form presented to the Board of Directors at the meeting on July 23,
        2020 is approved; and further

               RESOLVED, that the Plea Agreement between the USAO-WDVA, CPB and Indivior
       Solutions (the "Plea Agreement") in the form presented to the Board of Directors at the meeting
       on July 23, 2020 is approved; and further

               RESOLVED, that the Stipulation for Compromise Settlement between the United
       States of America and Indivior Solutions (the "Stipulation for Compromise Settlement") in the
       form presented to the Board of Directors is approved; and further




 Addedum 1 to Plea Agreement
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                RESOLVED, that the Agreed Order of Forfeiture between the Uni ted States of
          America and Indivior Solutions (the "Agreed Order of Forfeiture") in the form presented to the
          Board of Directors is approved; and further

                  RESOLVED, that Javier Rodriguez as the Secretary and corporate representative of
          lndivior Solutions, is hereby authorized and directed to execute and deliver in the name and on
          behalf of Indivior Solutions the Waiver of Indictment, Plea Agreement, the Stipulation for
          Compromise Settlement, and the Agreed Order of Forfeiture (hereinafter collectively referred to
          as the "Settlement Documents"), each in the fonn or substantially in the fonn presented to the
          Indivior Solutions Board of Directors, with such changes, additions and modifications thereto as
          he shall approve, such approval to be conclusively evidenced by his execution and delivery
          thereof; and further

                  RESOLVED, that Javier Rodriguez as the Secretary and corporate representative of
          lndivior Solutions, is hereby authorized and directed to make, execute and deliver, or cause to be
          made, executed and delivered, all such agreements, documents, instruments and other papers,
          and to do or cause to be done on behalf oflndivior Solutions, all such acts, as he may deem
          necessary or appropriate to carry out the purposes and intent of the foregoing resolutions,
          including, but not limited to, appearing on behalf of lndivior Solutions in the United States
          District Court for the Western District of Virginia, Abingdon Division, in order to make any
          statement or statements on behalf of Indivior Solutions he deems appropriate in connection with
          the waiver of indictment and guilty plea of Indivior Solutions in accordance with the Settlement
          Documents.

          TN WITNESS WHEREOF, the undersigned Directors have duly executed this Unanimous
          Written Consent as of this 23rd day of July 2020




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                                                      Ryan Preblick
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    Allachme/11 3 (E~hibit B) to Re~·o/utio11 Agreemem
    United States ,·. lndfrior Inc. and lndiv,o r pie                                                         Information



    willfully making false statements relating to health care matters in violation of 18 U .S.C.

    § 1035, pursuant to 18 U.S.C. § 982(a)(7).

                2.          The property to be forfeited to the United States is a forfeiture money

    judgment of up to $289,000,000 (Two Hundred Eighty-Nine Million Dollars) pursuant to

    18 U.S.C. § 982(a)(7) and 28 U .S.C. § 246l(c), in that such sum in aggregate was obtained

    directly or indirectly as a result of said offenses or is traceable to such property.

                3.          If any of the above-described forfeitable property, as a resu lt of any act or

    omission of the defendant:

                      a.    cannot be located upon the exercise of due diligence;
                      b.    has been transferred or sold to, or deposited with a third person;
                      c.    has been placed beyond the jurisdiction of the Court;
                      d.    has been substantially diminished in value; or
                      e.    has been commingled with other property which cannot be
                            subdivided without difficulty.

    it is the intent of the United States to seek forfeiture of any other property of the defendant

    up to the value of the above-described forfe itable property, pursuant to 21 U. S.C. § 85 3(p).

    Dated:


     ~ r. w-
    Daniel P. Bubar
    First Assistant United States Attorney
    Attorney for the United States, Acting Under Authori ty Conferred by 28 U.S.C. § 515



    Gustav W . Eyler
    Director
    Consumer Protection Branch
    United States Department ofJustice



    Exhibit 8 to Plea Agreement                                             Aurhoriwl Corpomte Officer 's lnitil1/s: _   _
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     Attncl11ne11t 3 {Exl,ihit CJ to Resolution Agreeme11t
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                       ENTERED THIS _ _ _ DAY OF _ _ _ _ _ _ _ _ _, 2020.


                                                                          UNITED STATES DISTRICT ruDGE


     Seen and Agreed to:


     Indivior Solutions, Inc.


     BY:
                  Javie~odri                   z                         DATE
                   Authoriz~porate Representative
                   for lndivior Solutions, Inc.


                                                                         ___7/L'f / _zJ_J _ _
                                                                         DATE




                  Thomas W. Be1 rs                                       DATE '             '
                   Counsel for lndivior Solutions, Inc.



     The United States Attorney's Office for the Western District of Virginia:


     BY:       ~ • --V:::----:::
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                                                                                                         20':J..O
                 Assistant United States Attorney




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